                                                                                       DISTRICT OF OREGON
                                                                                            FILED
                                                                                          October 15, 2012
                                                                                     Clerk, U.S. Bankruptcy Court
IT IS ORDERED AND NOTICE IS GIVEN THAT:
    (a) The trustee is authorized to compensate the debtor's attorney in the amount requested below
without further notice or order if copies are timely served per (b) unless, within 30 days of the "FILED" date,
a party files a written objection that sets forth specific grounds for it, with the Clerk of Court, 1001 SW 5th
Ave #700, Portland OR 97204. If the amount requested includes fees for work necessary to complete the
case, and payment of such fees will have any impact on creditor distributions, the trustee is authorized to
compensate the attorney in the amount requested for work necessary to complete the case 21 days after an
itemized bill for the additional work is filed and a copy is served on the debtor unless, within 14 days after
service, a written objection is filed.
    (b) The applicant must comply with all provisions in the court's Notice to Serve Document(s), and must
BOTH (1) properly serve a copy of this document, AND (2) FILE a completed "Certificate of Service" using a
copy of this document (WITHOUT any attachments).

                                                                _______________________________________
                                                                            RANDALL L. DUNN
                                                                          U.S. Bankruptcy Judge




                                 UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF OREGON

In re                                                  )
Gerald G. Monckton, Jr.                                )              11-31792-rld13
                                                            Case No. _______________
Agustina L. Monckton
                                                       )
                                                       )    [ONLY FOR CHAPTER 13 CASES]
                                                       )    APPLICATION BY DEBTOR'S ATTORNEY
Debtor(s)                                              )    FOR SUPPLEMENTAL COMPENSATION

I, the undersigned debtor's attorney, whose address and phone number are _____________________
Ted A. Troutman, 16100 NW Cornell Rd, STE 200, Beaverton, OR 97006, 503-292-6788
_________________________________________________________________________,                            apply for
additional compensation from the debtor's estate for the period from __________
                                                                             5/6/11     to __________
                                                                                              10/8/12    in the
sum of $____________
              1,786.41      (which is not less than $500 unless this is a final application, and which, if this
is a final application, includes $____________
                                         0.00      in anticipated additional fees to complete the case), per
the attached itemized billing summary.

I CERTIFY THAT:

    1. This (Check One)          IS      IS NOT my final application for compensation in this case.

    2. I have previously been awarded a total of $____________.
                                                     3,250.00   If granted, the total approved
    compensation amount will be $____________.
                                    5,036.41

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    3. My Disclosure of Compensation shows the debtor(s) and I agreed to Schedule 2.

    4. My previous application for compensation (i.e., either the original compensation disclosure or a
    supplemental application) was filed on __________,
                                                3/8/11    which is more than six months from the date of
    this application unless this is my final application.

    5. Allowance of this application will require that the distribution to creditors be reduced, the
    debtor pay more, or a combination of the two. Even if the distribution to creditors is not
    reduced, payments to creditors may be delayed, sometimes for an extended period. If the debtor
    must pay more, the debtor will either be required to make additional or increased plan payments.
    If you want to know what impact the allowance of this fee application will have on you, you should
    contact the attorney whose contact information is above. The attorney is required to explain the
    impact on you of the allowance of the additional compensation within seven days after you request
    the information.

    6. Applicant will file a modified plan within 28 days of allowance of the compensation requested in
    this application if the allowance will otherwise require plan modification.

    7. Applicant declares that, except as explained below, the minimum time billed is not in increments
    that exceed .1 hour (6 minutes), and that any time spent working on multiple matters concurrently
    has been allocated between those matters so that total billings do not exceed the actual time spent:




DATE: __________
        10/8/12                                              /s/ Ted A. Troutman,   OSB 844470
                                                             _____________________________________
                                                             Debtor's Attorney


STOP: BEFORE SERVING COPIES, FILE THE MOTION TO OBTAIN A JUDGE'S ORDER!




                                      CERTIFICATE OF SERVICE

I certify that on ____________ a copy of this application and order thereon (without attachments unless
the order requires service of an economic impact statement on the debtor), and any Notice of Hearing
prepared by the court per the judge’s order, were served on the debtor, and, if amounts requested and
anticipated exceed $1,000, on all creditors who filed claims and entities that filed a request to receive all
case notices.

                                                 _____________________________________________
                                                 Signature & Relation to Applicant
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                            MUIR & TROUTMAN
                                    Attorneys at Law
                                   One Willow Creek
                             16100 NW Cornell Rd., Ste 200
Phillip R. Muir              Beaverton, Oregon 97006                Tel (503) 292-6788
Ted A. Troutman                                                     Fax (503) 292-5799



                       BILLING STATEMENT LEGEND

Gerald G. Monckton, Jr.
Agustina L. Monckton
11-31792-RLD13

TAT = Ted A. Troutman, Attorney at Law,
      $360.00 per hour through December 31, 2011.
      $380.00 per hour thereafter.

PRM = Phillip R. Muir, Attorney at Law,
      $360.00 per hour through December 31, 2011.
      $380.00 per hour thereafter.

RJ     = Lawerence “Rusty” Jacobson, Legal Assistant,
         $180.00 per hour through December 31, 2011.
         $190.00 per hour thereafter.


TOTAL HOURS BILLED BY PERSON

TAT: 1.85

PRM: 0.00

RJ:     5.70




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                                        MUIR & TROUTMAN
                                            Attorneys at Law
                                      16100 NW Cornell Rd., Ste 200
                                          Beaverton, OR 97006



Invoice submitted to:
GERALD & AGUSTINA MONCKTON
1730 SW 203rd AVE.
ALOHA, OR 97006


October 08, 2012


In Reference To: 11-31792-rld13
                 Gerald G. Jr. & Agustina L.
             Professional Services

                                                                                     Hrs/Rate     Amount

   5/6/2011 RJ      Review signed Order Confirming Plan                                 0.05        9.00
                                                                                      180.00/hr

             RJ     Prepare letter to client regarding case confirmation and            0.25       45.00
                    ongoing requirements                                              180.00/hr

  5/27/2011 TAT     Review lot book to establish the order of liens on property         0.20       72.00
                                                                                      360.00/hr

             TAT    Preparation of Motion to Avoid Lien                                 0.60      216.00
                                                                                      360.00/hr

   6/3/2011 RJ      Telephone call from Client to discuss Wage Order issues             0.10       18.00
                                                                                      180.00/hr

  6/27/2011 TAT     Preparation of Order Valuing Property and Avoiding                  0.25       95.00
                    Wholly Unsecured Lien                                             380.00/hr

  7/11/2011 RJ      Preparation of Proof of Claim for GMAC Mortgage                     0.30       54.00
                                                                                      180.00/hr

             TAT    Review and audit claims                                             0.30 NO CHARGE
                                                                                      360.00/hr

  7/15/2011 RJ      Review transfer of claim from US Bank to PRA Receivables            0.05        9.00
                    Management                                                        180.00/hr

             RJ     Telephone call from Client regarding won $5,000.00 at               0.05        9.00
                    casino                                                            180.00/hr

  7/26/2011 TAT     Prepare letter to client regarding turnover of gambling             0.25       90.00
                    winnings                                                          360.00/hr




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                                                                                  Hrs/Rate            Amount

  8/2/2011 RJ   Review letter from Trustee regarding clients' obligation to          0.25              45.00
                turn over 50% of gambling winnings for payment to                  180.00/hr
                creditors; Review proposed order amending plan from
                Trustee; Prepare letter Trustee regarding no obligation to
                format of order

  8/3/2011 RJ   Telephone call from Client to discuss gambling winnings              0.10              18.00
                and mortgage payment issues                                        180.00/hr

  8/5/2011 RJ   Review signed Order amending plan (adds $2,500 to                    0.05               9.00
                payments)                                                          180.00/hr

 10/3/2011 RJ   Review Trustee notice of Intent to pay claims                        0.15              27.00
                                                                                   180.00/hr

 3/29/2012 RJ   Office conference with client to discuss how a surrender of          0.15              28.50
                home might affect bankruptcy case                                  190.00/hr

 4/17/2012 RJ   Review mortgage payment address change for JP Morgan                 0.05               9.50
                Chase. This lien has been avoided                                  190.00/hr

 4/23/2012 RJ   Review 2011 tax returns, possible unreported income due to           0.25              47.50
                retirement distributions, no net tax refunds; Prepare letter to    190.00/hr
                Trustee with copy of redacted tax returns and my analysis of
                income and tax refunds

  6/1/2012 RJ   Review April pay stubs for Mr. Monckton. Preparation of              0.30              57.00
                draft amended Schedule I to update client's income from            190.00/hr
                overtime

          RJ    Telephone call to client to let him know we may be able to           0.10              19.00
                keep more overtime income in his pocket with amended               190.00/hr
                plan. Requested more pay stubs for review before we
                finalize the analysis and arrive at a final conclusion

 7/13/2012 RJ   Review amended proof of claim filed by JP Morgan Chase               0.10              19.00
                (avoided mortgage)                                                 190.00/hr

  9/7/2012 RJ   Telephone call from client regarding he is on disability and         0.10              19.00
                unable to make plan payments. Discuss amended plan                 190.00/hr
                possibility

 9/18/2012 RJ   Telephone call to client to request from him his year end pay        0.05               9.50
                stub showing all overtime earned in 2011                           190.00/hr

          RJ    Telephone call to Trustee office to discuss how early                0.10              19.00
                Trustee disbursement will affect split claims in Chapter 13        190.00/hr
                Plan for this client




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                                                                                     Hrs/Rate            Amount

 9/18/2012 RJ       Begin preparation of amended Chapter 13 Plan                        0.55             104.50
                                                                                      190.00/hr

 9/19/2012 RJ       Preparation of finalized Amended Chapter 13 Plan and                0.45              85.50
                    revised feasibility analysis                                      190.00/hr

           RJ       Prepare letter to Trustee with amended Plan and a discussion        0.25              47.50
                    of changes proposed and reasons that an amended Plan is           190.00/hr
                    necessary

 9/20/2012 RJ       Review Trustee objection to proposed amended plan                   0.05               9.50
                                                                                      190.00/hr

           RJ       Prepare letter to client regarding Trustee objection to             0.25              47.50
                    proposed amended plan, explained we need year end pay             190.00/hr
                    stubs for 2011 as required by terms of Chapter 13 Plan and
                    also the trustee objects to amended Plan until the pay stub is
                    provided

 9/26/2012 RJ       Review year end pay stub for 2011. Calculate amount of              0.25              47.50
                    overtime due to be paid into Plan is $434.69, per terms of        190.00/hr
                    Paragraph 13

           RJ       Prepare letter to Trustee with required copy of 2011 year           0.15              28.50
                    end pay stub and my detailed analysis of overtime due to be       190.00/hr
                    paid into Plan for year 2011

 9/28/2012 RJ       Review Trustee letter regarding proposed amended Plan. All          0.05               9.50
                    objections resolved and Plan can be filed                         190.00/hr

           RJ       Preparation of Notice of Post-Confirmation Amended Plan             0.15              28.50
                                                                                      190.00/hr

           TAT      Review Amended Plan and feasibility analysis; Review                0.25              95.00
                    Notice of Post-Confirmation Amended Plan                          380.00/hr

 10/8/2012 RJ       Preparation of Application for Supplemental Attorney Fees            1.00             35.00
                    (billed at flat rate)

           For professional services rendered                                            7.55        $1,482.50

           Additional Charges :

 5/27/2011 Paid to Fidelity National Title Insurance for lot book and title report                       250.00

  6/1/2011 Photocopy and postage cost for May                                                              8.92




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                                                                                                Amount

  7/1/2011 Photocopy and postage cost for June                                                     7.81

 7/31/2011 Photocopy and postage cost for July                                                     1.63

 8/31/2011 Photocopy and postage cost for August                                                   0.44

 9/30/2011 Photocopy and postage cost for September                                                0.44

10/31/2011 Photocopy and postage cost for October                                                  0.44

11/30/2011 Photocopy and postage cost for November                                                 0.44

 1/31/2012 Photocopy and postage cost for January                                                  0.44

 3/31/2012 Photocopy and postage cost for March                                                    0.45

 4/30/2012 Photocopy and postage cost for April                                                    0.45

 5/31/2012 Photocopy and postage cost for May                                                      0.45

 6/30/2012 Photocopy and postage cost for June                                                     0.45

 7/31/2012 Photocopy and postage cost for July                                                     0.45

 8/31/2012 Photocopy and postage cost for August                                                   0.45

 9/30/2012 Photocopy and postage cost for September                                               30.65

           Total costs                                                                          $303.91


                                                                TOTAL FEES AND COSTS         $1,786.41




                                                               Note: Original attorney fees of $3,250.00
                                                               were approved for services rendered
                                                               through Confirmation, pursuant to
                                                               LBF 1305, Schedule 2(a).




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